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            IN THE UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       )
                                               )
v.                                             )
                                               ) CRIM NO. 22-CR-00243-CKK
JODI WILSON,                                   )
                                               ) Judge: Kollar-Kotelly
                                               )
Defendant.                                     ) Status Date: November 16, 2022

                          UNOPPOSED MOTION TO
                         CONTINUE STATUS HEARING

        COMES NOW Jodi Wilson, through counsel, and requests continuance of the

status hearing currently scheduled for November 16, 2022, and the setting of a new

status date two (2) weeks out or later. As reasons therefor, defendant states as

follows:

        1. This matter is currently scheduled for a status hearing on November 16,

2022.

        2. Ms. Wilson is currently hospitalized and is therefore unable to attend the

hearing. Ms. Wilson has indicated that she may be in the hospital for up to seven (7)

more days. Accordingly, because of her hospitalization and the upcoming

Thanksgiving holiday, Ms. Wilson would ask for a date at least two (2) weeks out.

        3. In addition, Ms. Wilson waives the time until the next court date under the

Speedy Trial Act.
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      4. Undersigned counsel has been in contact with AUSA Anita Eve, and she

indicates that the government does not oppose this motion.

          WHEREFORE, the defendant requests a continuance of the status

hearing to a date at least two weeks out.

                                                Respectfully submitted,

                                                JODI WILSON
                                                By Counsel

                                                /s/ John L. Machado
                                                John L. Machado, Esq.
                                                Bar. No. 449961
                                                Counsel for Jodi Wilson
                                                503 D Street, N.W., Suite 310
                                                Washington, DC 20001
                                                Phone: (703) 989-0840
                                                E-mail: johnlmachado@gmail.com

                                Certificate of Service

    I hereby certify that a true copy of the foregoing was electronically filed with
    the Clerk of the Court using the CM/ECF system this 14th day of November,
   2022, which will send a notification of such filing (NEF) to the following to all
                                   counsel of record.

          /s/John L. Machado
       John L. Machado, Esq.
       Bar Number 449961
       Attorney for Jodi Wilson
       Office of John Machado
       503 D Street NW, Suite 310
       Washington, D.C. 20001
       Telephone (703)989-0840
       Email: johnlmachado@gmail.com

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